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 Advisors, L.P., NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic Opportunities
 Fund, and NexPoint Capital, Inc.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                         )
In re:                                   )                        Chapter 11
                                         )
HIGHLAND CAPITAL MANAGEMENT, L.P.        )                        Case No. 19-34054 (SGJ11)
                                         )
       Debtors.                          )                        (Jointly Administered)
                                         )
                                         )
                                         )
HIGHLAND CAPITAL MANAGEMENT, L.P., )
                                         )
       Plaintiff,                        )
                                         )
       v.                                )                        Adv. Pro. No. 21-03000 (SGJ11)
                                         )
HIGHLAND CAPITAL MANAGEMENT FUND )
ADVISORS, L.P., NEXPOINT ADVISORS, L.P., )
HIGHLAND INCOME FUND, NEXPOINT           )
STRATEGIC OPPORTUNITIES FUND,            )
NEXPOINT CAPITAL, INC., AND CLO          )
HOLDCO, LTD,                             )
                                         )



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            Defendants.                                   )
                                                          )

             WITNESS AND EXHIBIT LIST OF HIGHLAND CAPITAL
         MANAGEMENT FUND ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
              HIGHLAND INCOME FUND, NEXPOINT STRATEGIC
            OPPORTUNITIES FUND, AND NEXPOINT CAPITAL, INC.

            Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. (together, the

“Advisors”), and Highland Income Fund, NexPoint Strategic Opportunities Fund, and NexPoint Capital,

Inc. (together, the “Funds”), hereby file this Witness and Exhibit List for the hearing to consider

Plaintiff’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

Against Certain Entities Owned and/or Controlled by Mr. James Dondero [Dkt. No. 5] and the

Funds and Advisors’ objection thereto [Dkt. No. 31] in the above-captioned adversary

proceeding.

I.          Documents that the Funds and Advisors May Use as Exhibits:


      Letter                                  Exhibit                                Offered Admitted

                 CLO Note Repayment Status
        A

                  Holdings of Preference Shares in CLOs
        B

                  Highland Capital Management Fund Advisors, L.P.
        C         CLOs Review

                  Aberdeen Loan Funding Offering Memorandum dated
        D
                  March 27, 2008
        E         Aberdeen Loan Funding Indenture dated as of March 27,
                  2008

        F         Aberdeen loan Funding Supplemental Indenture No. 1
                  dated as of September 11, 2008




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              Aberdeen Loan Funding Preference Shares Paying
       G
              Agency Agreement dated as of March 27, 2008

              Aberdeen Loan Funding Servicing Agreement dated as of
       H
              March 27, 2008
              Brentwood CLO Offering Memorandum dated December 18,
       I
              2006

       J      Brentwood CLO Indenture dated as of December 21, 2006

              Brentwood CLO Preference Shares Paying Agency Agreement
       K
              dated as of December 21, 2006
               Brentwood CLO Servicing Agreement dated as of December
       L
              21, 2006
              Eastland CLO Offering Memorandum dated March 9, 2007
      M

              Eastland CLO Indenture dated as of March 13, 2007
       N

              Eastland CLO Preference Shares Paying Agency Agreement
       O
              dated as of March 13 2007
               Eastland CLO Servicing Agreement dated as of March 13,
       P
              2007
              Gleneagles CLO Offering Memorandum dated October 7, 2005
       Q

              Gleneagles CLO Indenture dated as of October 13, 2005
       R

              Gleneagles CLO Portfolio Management Agreement dated as of
       S
              October 13, 2005
              Gleneagles CLO Preference Shares Paying Agency Agreement
       T
              dated as of October 13, 2005
              Grayson CLO Offering Memorandum dated November 28,
       U
              2006
              Grayson CLO Indenture dated as of November 30, 2006
       V

              Grayson CLO Preference Shares Paying Agency Agreement
      W
              dated as of November 30, 2006



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              Grayson CLO Servicing Agreement dated as of November 30,
       X
              2006
               Grayson CLO Amendment No. 1 to Servicing Agreement
       Y
              dated as of October 2, 2007
              Greenbriar CLO Indenture dated as of December 20, 2007
       Z

              Greenbriar CLO Preference Shares Paying Agency Agreement
      AA
              dated as of December 20, 2007
               Greenbriar CLO Servicing Agreement dated as of December
      BB
              20, 2007
              Jasper CLO Offering Memorandum dated June 27, 2005
      CC

              Jasper CLO Amended and Restated Portfolio Management
      DD
              Agreement dated as of November 30, 2005
              Jasper CLO Indenture dated as of June 29, 2005
      EE

              Jasper CLO Preference Shares Paying Agency Agreement
      FF
              dated as of June 29, 2005
              Liberty CLO Offering Memorandum dated December 7, 2005
      GG

              Liberty CLO Indenture dated as of December 8, 2005
      HH

              Liberty CLO Class E Certificate Paying Agency Agreement
       II
              dated as of December 8, 2005
              Liberty CLO Portfolio Management Agreement dated as of
       JJ
              December 8, 2005
              Red River CLO Offering Memorandum dated July 31, 2006
     KK.


      LL      Red River CLO Indenture dated as of August 3, 2006

              Red River CLO Amendment No. 1 to Indenture dated as of
     MM
              October 2, 2007
              Red River CLO Preference Shares Paying Agency Agreement
      NN
              dated as of August 3, 2006




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              Red River CLO Servicing Agreement dated as of August 3,
      OO
              2006
              Red River CLO Amendment No. 1 to Servicing Agreement
      PP
              dated as of October 2, 2007

      QQ      Rockwall CDO Offering Circular (Notes) dated May 8, 2006

              Rockwall CDO Offering Circular (Preferred Share) dated
      RR
              May 8, 2006

      SS      Rockwall CDO Indenture dated as of May 10, 2006

              Rockwall CDO Amendment No. 1 to Indenture dated as of
      TT
              October 2, 2007
              Rockwall CDO Shares Paying and Agency
     UU
              Agreement dated as of May 10, 2006

      VV       Rockwall CDO Servicing Agreement dated as of May 10,
              2006
              Rockwall CDO Amendment No. 1 to Servicing Agreement
     WW
              dated as of October 2, 2007

      XX      Rockwall CDO II Offering Circular (Notes) dated May 8, 2007

              Rockwall CDO II Offering Circular (Preferred Share)
      YY
              dated May 8, 2007

      ZZ      Rockwall CDO II Indenture dated as of May 9, 2007

              Rockwall CDO II Shares Paying and Agency
    AAA
              Agreement dated as of May 9, 2007
              Rockwall CDO II Servicing Agreement dated as of May 9,
     BBB
              2007
              Southfork CLO Offering Circular dated March 9, 2005
     CCC


    DDD       Southfork CLO Indenture dated as of March 15, 2005

              Southfork CLO Portfolio Management Agreement dated as of
     EEE
              March 15, 2005




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              Southfork CLO Preference Shares Paying Agency Agreement
     FFF
              dated as of March 15, 2005
              Stratford CLO Offering Memorandum dated October 22, 2007
    GGG


    HHH       Stratford CLO Indenture dated as of October 25, 2007

              Stratford CLO Preference Shares Paying and
      III
              Agency Agreement dated as of October 25, 2007
              Stratford CLO Servicing Agreement dated as of October 25,
      JJJ
              2007

    KKK       Valhalla CLO Offering Circular dated August 17, 2004


     LLL.     Valhalla CLO Indenture dated as of August 18, 2004

              Valhalla CLO Supplemental Indenture dated as of July 25,
    MMM
              2016
              Valhalla CLO Reference Portfolio Management Agreement
    NNN.
              dated as of August 1, 2016
              Westchester CLO Offering Memorandum dated May 30,
    OOO
              2007

     PPP      Westchester CLO Indenture dated as of May 31, 2007

              Westchester CLO Preference Shares Paying
    QQQ
              Agency Agreement dated as of May 31, 2007
              Westchester CLO Servicing Agreement dated as of May 31,
     RRR
              2007
              NexPoint Strategic Opportunities Fund, Form DEF-14A,
    SSS
              Proxy Statement, filed July 10, 2020
              NexPoint Capital, Inc., Form 497 Prospectus Supplement,
     TTT
              dated March 14, 2018
              NexPoint Capital, Inc. Form DEF-14A Proxy Statement,
    UUU
              dated April 24, 2019
              Highland Income Fund, Form 497 Prospectus
    VVV
              Supplement, dated July 29, 2019




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              Greenbriar CLO, Offering Memorandum dated
      WWW
              December 18, 2007
              [CONFIDENTIAL] Policy Regarding Portfolio
      XXX
              Management
               [CONFIDENTIAL] Employee Compliance Training
      YYY

               [CONFIDENTIAL] E-mail correspondence dated
      ZZZ
              December 22, 2020 from Jason Post to Thomas Surgent
              and Joe Sowin
               [CONFIDENTIAL] AVYA Trade Report
   AAAA

               [CONFIDENTIAL] SKY Trade Report
      BBBB

               [CONFIDENTIAL] Grayson CLO Ltd. Monthly Report
      CCCC
              as of December 31, 2020
               Defendants’ December 22, 2020 Letter
   DDDD

               Defendants’ December 23, 2020 Letter
      EEEE

               Defendants’ December 28, 2020 Letter
      FFFF

               Defendants’ December 31, 2020 Letter
   GGGG

               All exhibits identified or offered by any other party for
   HHHH
              purposes of the hearing
               All exhibits necessary for impeachment and/or rebuttal
       IIII
              purposes

The Funds and Advisors reserve the right to supplement this Exhibit List, and reserve the right

to rely upon any Exhibits included on the Witness and Exhibit List of any other party.

II.       Witnesses that the Funds and Advisors May Call to Testify:

      1. Jason Post

      2. Any witness identified or called by any other party



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    3. Any witness necessary for impeachment and/or rebuttal

The Funds and Advisors reserve the right to supplement this Witness List, and reserve the

right to call any Witnesses included on the Witness and Exhibit List of any other party.


Dated:        January 22, 2021
                                             K&L GATES LLP

                                             By: /s/ A. Lee Hogewood, III
                                                  A. Lee Hogewood, III (pro hac vice)
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                                                   Tel: (202) 778-9328
                                                   stephen.topetzes@klgates.com

                                                   - and -

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                                                   Counsel for Highland Capital Management
                                                   Fund Advisors, L.P., NexPoint Advisors, L.P.,
                                                   Highland Income Fund, NexPoint Strategic
                                                   Opportunities Fund, and NexPoint Capital, Inc.


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                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 22, 2021, I caused the foregoing document to be served via
first class United States mail, postage prepaid and/or electronic email through the Court’s CM/ECF
system to the parties that consented to such service.

         Dated: January 22, 2021
                                                     /s/ A. Lee Hogewood, III
                                                     A. Lee Hogewood, III




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